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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



                                                 Highland Avenue Capital Partners LLC
 1.   Debtor’s name                           ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8     1      1    1    0   2    8   2
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                      5
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business
                                                  205 Pier Avenue, Suite 102
                                                                                                          _______________________________________________
                                              ______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box
                                                  Hermosa Beach               CA          90254
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Los Angeles
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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               Highland Avenue Capital Partners LLC
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              8 1 2         3
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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                Highland Avenue Capital Partners LLC
Debtor          _______________________________________________________                               Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases                  No
       filed by or against the debtor
       within the last 8 years?                     Yes.    District _______________________ When _______________ Case number _________________________
                                                                                                   MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                        District _______________________ When _______________ Case number _________________________
                                                                                                   MM / DD / YYYY

 10.   Are any bankruptcy cases                     No
       pending or being filed by a                                     See attached
                                                    Yes.                                                                        Affiliate
       business partner or an                                Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                                        Delaware
                                                             District _____________________________________________ When        07/06/2020
                                                                                                                               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                               Case number, if known ______________________



 11.   Why is the case filed in this               Check all that apply:
       district?
                                                    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                       district.

                                                    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have                  No
       possession of any real                       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                                 Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                What is the hazard? _____________________________________________________________________

                                                               It needs to be physically secured or protected from the weather.

                                                               It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                assets or other options).

                                                               Other _______________________________________________________________________________



                                                            Where is the property?_____________________________________________________________________
                                                                                      Number          Street

                                                                                      ____________________________________________________________________

                                                                                      _______________________________________         _______ ________________
                                                                                      City                                            State ZIP Code


                                                            Is the property insured?
                                                               No
                                                               Yes. Insurance agency ____________________________________________________________________

                                                                     Contact name     ____________________________________________________________________

                                                                     Phone            ________________________________




               Statistical and administrative information




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               Highland Avenue Capital Partners LLC
Debtor        _______________________________________________________                                 Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of                     Check one:
       available funds                             Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                   1-49                            1,000-5,000                                25,001-50,000
 14.   Estimated number of                         50-99                           5,001-10,000                               50,001-100,000
       creditors
                                                   100-199                         10,001-25,000                              More than 100,000
                                                   200-999

                                                   $0-$50,000                      $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                            $50,001-$100,000                $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                   $100,001-$500,000               $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                   $500,001-$1 million             $100,000,001-$500 million                  More than $50 billion

                                                   $0-$50,000                      $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities                       $50,001-$100,000                $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                   $100,001-$500,000               $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                   $500,001-$1 million             $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                      petition.
       debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                      correct.


                                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                                     07/06/2020
                                                      Executed on _________________
                                                                    MM / DD / YYYY


                                                  
                                                          /s/ Christopher Bryan
                                                       _____________________________________________             Christopher Bryan
                                                                                                                _______________________________________________
                                                       Signature of authorized representative of debtor
                                                                                                                Printed name

                                                       Title: Managing Member and Authorized Representative




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              Highland Avenue Capital Partners LLC
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                             /s/ Maria Aprile Sawczuk
                                            _____________________________________________            Date
                                                                                                                07/06/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY


                                            Maria Aprile Sawczuk
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Goldstein & McClintock LLLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                            501 Silverside Road, Suite 65
                                           _________________________________________________________________________________________________
                                           Number        Street
                                             Wilmington                                           DE           19809
                                           ____________________________________________________ ____________ ______________________________
                                           City                                                  State        ZIP Code

                                           (302) 444-6710                                                   marias@restructuringshop.com
                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address


                                            3320                                                    DE
                                           ______________________________________________________ ____________
                                           Bar number                                             State




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                      ATTACHMENT 1 TO VOLUNTARY PETITION


On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
will file or has filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101–1532, in the United States Bankruptcy Court for the District of
Delaware (the “Court”). Contemporaneously with the filing of their voluntary petitions, the
Debtors are filing a motion with the Court requesting that their chapter 11 cases be consolidated
for procedural purposes only and jointly administered, pursuant to Rule 1015(b) of the Federal
Rules of Bankruptcy Procedure, under the case number assigned to the chapter 11 case of Apex
Linen Service LLC.

 Debtor Name                                      Federal EIN
 Apex Linen Service LLC                           XX-XXXXXXX
 Highland Apex Holdings LLC                       XX-XXXXXXX
 Highland Avenue Capital Partners LLC             XX-XXXXXXX
 Highland Apex GP LLC                             XX-XXXXXXX
 Highland Apex Management LLC                     XX-XXXXXXX
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                                        RESOLUTION
                                              of
                             Highland Avenue Capital Partners LLC
                            (a Wyoming Limited Liability Company)

                                    Effective as of July 6, 2020

       The undersigned (the “Managing Member”), in his capacity as the Managing Member of
Highland Avenue Capital Partners LLC, a Wyoming limited liability company (the “Company”),
hereby consents in writing to the following resolutions:

       WHEREAS, the Managing Member has considered the financial and operational aspects
of the Company’s business and the recommendations of the Company’s professionals and
advisors, and adopts the following resolutions by written consent;

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Managing
Member, it is desirable and in the best interest of the Company, its creditors, equity holders, and
other interested parties to file a petition (the “Petition”) seeking relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”);

       RESOLVED FURTHER, that the Petition is adopted in all respects. Christopher Bryan
(the “Authorized Representative”) is hereby authorized and directed, on behalf of the Company,
to execute the Petition or authorize the execution of a filing of the Petition by the Company and
to cause the same to be filed with the Bankruptcy Court at such time as the Authorized
Representative considers it appropriate;

        RESOLVED FURTHER, that the Authorized Representative shall be, and hereby is,
authorized, directed, and empowered on behalf of and in the name of the Company to execute,
verify, and cause to be filed such requests for relief from the Bankruptcy Court as the Authorized
Representative may deem necessary, proper, or desirable in connection with the Petition;

        RESOLVED FURTHER, that the Authorized Representative is authorized to execute and
file on behalf of the Company all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all action that it deems necessary or proper to obtain appropriate
relief for the Company, including, without limitation, any action necessary to maintain the
ordinary course operation of the Company’s business;

       RESOLVED FURTHER, that the law firm of Goldstein & McClintock LLLP shall be,
and hereby is, employed as general bankruptcy counsel for the Company in the Company’s
chapter 11 case;

       RESOLVED FURTHER, that the Authorized Representative is authorized and
empowered on behalf of, and in the name of, the Company to retain and to employ other
attorneys, brokers, investment bankers, accountants, restructuring professionals, financial
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advisors, and other professionals to assist in the Company’s chapter 11 case on such terms as are
deemed necessary, proper, or desirable by the Authorized Representative;

        RESOLVED FURTHER, that the Authorized Representative, and any employees or
agents (including counsel) designated by or directed by such Authorized Representative, shall be,
and each hereby is, authorized and empowered to cause the Company and such of its affiliates as
management deems appropriate to enter into, execute, deliver, certify, file, record, and perform
such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates, or other documents, and to take such other
actions, as in the judgment of such Authorized Representative shall be necessary, proper, and
desirable to prosecute to a successful completion of the Company’s chapter 11 case, to effectuate
the restructuring of the Company’s debt, other obligations, organizational form and structure,
and ownership of the Company and its subsidiaries consistent with the foregoing resolutions, and
to carry out and put into effect the purposes of the foregoing resolutions, and the transactions
contemplated by these resolutions, their authority thereunto to be evidenced by the taking of such
actions;

                                    General Authorization

       RESOLVED FURTHER, that the Authorized Representative is authorized and
empowered on behalf of the Company and in its name to take or cause to be taken all actions and
to execute and deliver all such instruments that the Authorized Representative of the Company
approves as necessary or desirable in connection with the foregoing resolutions, such approval to
be conclusively evidenced by the taking of any such action or the execution and delivery of any
such instrument by the Authorized Representative of the Company;

        RESOLVED FURTHER, that any specific resolutions that may be required to have been
adopted in connection with the actions contemplated by the foregoing resolutions be, and they
hereby are, adopted, and the Authorized Representative of the Company is authorized to certify
as to the adoption of any and all such resolutions and attach such resolutions hereto; and

        RESOLVED FURTHER, that all actions heretofore taken by the Authorized
Representative or of the Company in connection with or otherwise in contemplation of the
transactions contemplated by any of the foregoing resolutions be, and they hereby are, ratified,
confirmed, and approved.




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        IN WITNESS WHEREOF, the undersigned has executed this action by written consent
as of the date first written above.




                                               ___________________________
                                                Christopher Bryan




                                          3
